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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on May 25, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. GrandJury-Original gi- MJ-S5 73
FLOYD RAY ROSEBERRY, VIOLATIONS:
Defendant. 18 U.S.C. § 2332a(a)(2)(A) & (C)

(Use of Weapons of Mass Destruction)
18 U.S.C. § 844(e)
(Threats to Use Explosive Materials)
INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about August 19, 2021, in the District of Columbia, the defendant, Floyd Ray
Roseberry, acting without lawful authority, did knowingly threaten to use a weapon of mass
destruction, specifically, a destructive device as defined by Title 18, United States Code, Section
921, against any property that was owned, leased, and used by the United States and by a
department or agency of the United States, and against any person or property within the United
States; and a facility of interstate and foreign commerce was used in furtherance of the offense,

and Floyd Ray Roseberry traveled in and caused another to travel in interstate commerce in

furtherance of the offense.
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(Use of Weapons of Mass Destruction, in violation of Title 18, United States Code,
Sections 2332a(aX2)(A) & (C))

COUNT TWO
On or about August 19, 2021, in the District of Columbia, the defendant, Floyd Ray
Roseberry, through the use of an instrument of interstate or foreign commerce, to wit, the internet,
willfully threatened and maliciously conveyed false information, knowing the same to be false,
concerning an attempt and alleged attempt being made to damage or destroy a building, by means
of fire and an explosive, in and affecting interstate commerce. |
(Threats to Use Explosive Materials, in violation of Title 18, United States Code, Section

844(e))

A TRUE BILL

FOREPERSON

CHANNING D. PHILLIPS
ACTING ATTORNEY OF THE UNITED STATES OF
AND FOR THE DISTRICT OF COLUMBIA
